Case 2:18-cr-00126-cr Document1 Filed 10/18/18 Page 1 of 1

US.DISTRICT COURT
STAT $5 “ewer
BISTRICT GF_VERMONT
eh my

~-ws

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF VERMONT

tie

2618 OCT 18 PM 2:40

 

UNITED STATES OF AMERICA ) ye
) | bY_.._>
v. ) Criminal No. GEPUTY CLERK
) : _ _
TROY MCILWAIN, ) e18-Cl- 12
Defendant. )
INDICTMENT
Count One

The Grand Jury charges that:

On or about September 9, 2018, in the District of Vermont, defendant TROY
MCILWAIN knowingly and intentionally possessed with intent to distribute cocaine base, a
Schedule II controlled substance.

(21 U.S.C. §§ 841(a), 841(b)(1)(C))

A TRUE BILL

 

FOREPERSON

Churtine E Jota by
CHRISTINA E. NOLAN (KJD)
United States Attorney

Burlington, Vermont

October 18, 2018
